               Case 4:19-cr-00633 Document 283 Filed on 10/11/22 in TXSD Page 1 of 7
                                                                                                                  United States District Court
AO 245C (Rev. 09/19)    Amended Judgment in a Criminal Case                                         (NOTE: Identify Changes with
                                                                                                                     Southern    Asterisks(*))
                                                                                                                               District of Texas
                        Sheet I
                                                                                                                        ENTERED
                                            UNITED STATES DISTRICT COURT                                              October 11, 2022
                                                 SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                                    Holding Session in Houston
           UNITED STATES OF AMERICA                                   AMENDED JUDGMENT IN A CRIMINAL CASE
                                 v.
            OLOTIN ALFRED ALATAN                                      CASE NUMBER: 4:19CR00633-001
                       A/KlA Alfred Ala tan
                                                                      USM NUMBER: 99813-479

Date of Original Judgment: August 26, 2022
                                -- - - - - - - - - - Gus
                                 (Or Date of Last Amended Judgment)
                                                                         A. Saper
                                                                    Defendant's Attorney
THE DEFENDANT:
D pleaded guilty to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
D pleaded nolo contendere to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       which was accepted by the court.
l2SI   was found guilty on count(s) lS, 2S, 3S, 4S, 5S, 6S. 7S. 8S. 9S and 16S on April 25, 2022,
       after a plea ofnot guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section             Nature of Offense                                                            Offense Ended            Count
18 u.s.c. § 1349            Conspiracy to commit healthcare fraud                                           06/30/2016              lS

18 u.s.c. § 1347            Aiding and abetting healthcare fraud                                            05/07/2015              2S
18 u.s.c. § 1347            Aiding and abetting healthcare fraud                                            07/06/2015              3S
18 u.s.c. § 1347            Aiding and abetting healthcare fraud                                            06/02/2015              4S
18 U.S.C. § 1347            Aiding and abetting healthcare fraud                                            08/25/2015              5S
18 u.s.c. § 1347            Aiding and abetting healthcare fraud                                            09/22/2014              6S
18 u.s.c. § 1347            Aiding and abetting healthcare fraud                                            08/07/2016              7S

~      See Additional Counts of Conviction.
        The defendant is sentenced as provided in pages 2 through ..]_ of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
D      Count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                   October 7, 2022




                                                                    SIM LAKE
                                                                    SENIOR UNITED STATES DISTRICT JUDGE
                                                                   Name and Title of Judge

                                                                           01;-/r,l,c,.    l l, :Jo~~
                                                                    Date
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AO 245C (Rev. 09/19)   Amended Judgment in a Criminal Case                                       (NOTE: Identify Changes with Asterisks(*))
                       Sheet IA
                                                                                            Judgment-Page _ _
                                                                                                            2 _ of                  7
 DEFENDANT:              OLOTIN ALFRED ALATAN
 CASE NUMBER:            4: 19CR00633-001

                                   ADDITIONAL COUNTS OF CONVICTION
Title & Section            Nature of Offense                                                          Offense Ended            Count
18 u.s.c. § 1347           Aiding and abetting healthcare fraud                                           10/06/2014              8S
18   u.s.c. § 1347         Aiding and abetting healthcare fraud                                           12/05/2014              9S
18 U.S.C. § 1957           Engaging in monetary transactions in property derived from specific            12/09/2014             16S
                           unlawful activity
              Case 4:19-cr-00633 Document 283 Filed on 10/11/22 in TXSD Page 3 of 7
AO 245C (Rev. 09/19)   Amended Judgment in a Criminal Case                                        (NOTE: Identify Changes with Asterisks(*))
                       Sheet 2 - Imprisonment
                                                                                             Judgment -          3_
                                                                                                          Page _ _         of        7
 DEFENDANT:              OLOTIN ALFREDALATAN
 CASE NUMBER:            4:19CR00633-001

                                                         IMPRISONMENT
        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term
of: 120 months.
This term consists of ONE HUNDRED TWENTY (120) MONTS as to each of Counts IS, 2S, 3S, 4S, 5S, 6S, 7S, 8S, 9S,
and 16S, to run concurrently, for a total sentence of ONE HUNDRED TWENTY (120) MONTHS.
□     See Additional Imprisonment Terms.

181 *The court makes the following recommendations to the Bureau of Prisons:
    * That the defendant be designated to a facility as close as possible to Houston, Texas.

□     The defendant is remanded to the custody of the United States Marshal.


□     The defendant shall surrender to the United States Marshal for this district:
      □   at _ _ _ _ _ _ _ _ on _ _ _ _ _ _ _ _ _ _ _ __
      □   as notified by the United States Marshal.


181 *The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      181 before 2 p.m. on ~10=/=25~/=20=2=2~----
      □   as notified by the United States Marshal.
      □   as notified by the Probation or Pretrial Services Office.


                                                             RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                to

 at                                              , with a certified copy of this judgment.
      -------------
                                                                                         UNITED STA TES MARSHAL




                                                                   By
                                                                                     DEPUTY UNITED STATES MARSHAL
                 Case 4:19-cr-00633 Document 283 Filed on 10/11/22 in TXSD Page 4 of 7
AO 245C (Rev. 09/19)       Amended Judgment in a Criminal Case                                                   (NOTE: Identify Changes with Asterisks(*))
                           Sheet 3 - Supervised Release
                                                                                                           Judgment -   Page      4       of        7
     DEFENDANT:              OLOTIN ALFRED ALA TAN
     CASE NUMBER:            4: 19CR00633-001

                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: -=-3-y.. ,e""a""'rs..,._________________
This term consist of THREE (3) YEARS as to each of Counts IS, 2S, 3S, 4S, SS, 6S, 7S, 8S, 9S, and 16S, to run concurrently, for a
total sentence of THREE (3) YEARS.
                                                    MANDATORY CONDITIONS
I.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from imprisonment
       and at least two periodic drug tests thereafter, as determined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance abuse.
                   (check if applicable)
4.     181   You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of restitution. (check
             if applicable)
5.     181   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as directed by
             the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you reside, work, are a
             student, or were convicted of a qualifying offense. (check if applicable)
7.     D     You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION
181    See Special Conditions of Supervision.
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because they
establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep informed,
report to the court about, and bring about improvements in your conduct and condition.
I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
       imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you must
       report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or
       the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements (such
       as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in advance
       is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
       expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any
       items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If
       you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you
       plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation
       officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
       circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted ofa
       felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed,
       or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
IL     You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting
       the permission of the court.
I 2.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you to
       notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm that you
       have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.
14.    If restitution is ordered, the defendant must make restitution as ordered by the Judge and in accordance with the applicable provisions of 18 U.S.C.
       §§ 2248, 2259, 2264, 2327, 3663A and/or 3664. The defendant must also pay the assessment imposed in accordance with 18 U.S.C. § 3013.
15.    The defendant must notify the U.S. Probation Office of any material change in the defendant's economic circumstances that might affect the
         defendant's ability to pay restitution, fines, or special assessments.
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AO 245C (Rev. 09/19)   Amended Judgment in a Criminal Case                                (NOTE: Identify Changes with Asterisks(*))
                       Sheet 3D- Supervised Release
                                                                                     Judgment - Page       5       of        7
 DEFENDANT:              OLOTIN ALFRED ALATAN
 CASE NUMBER:            4: I 9CR00633-00 I

                                  SPECIAL CONDITIONS OF SUPERVISION
You must provide the probation officer with access to any requested financial information and authorize the release of any
financial information. The probation office may share financial information with the U.S. Attorney's Office.
You must not incur new credit charges or open additional lines of credit without the approval of the probation officer.
You must not engage in an occupation, business, profession, or volunteer activity that would require or enable you to have
access to Medicare, Medicaid, and all Federal health care programs without the prior approval of the probation officer.
               Case 4:19-cr-00633 Document 283 Filed on 10/11/22 in TXSD Page 6 of 7
AO 245C (Rev. 09/19)      Amended Judgment in a Criminal Case                                            (NOTE: Identify Changes with Asterisks(*))
                          Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment -   Page      6      of        7
 DEFENDANT:                  OLOTIN ALFRED ALATAN
 CASE NUMBER:                4: 19CR00633-001

                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                 Assessment                Restitution            Fine                 AVAA Assessment 1           JVTA Assessment'
TOTALS           $1,000                    $4,535,638.97          $                    $                           $
A $100 special assessment is ordered as to each of Count 1S, 2S, 3S, 4S, 5S, 6S, 7S, 8S, 9S and l6S, for a total of$l,OOO.
D See Additional Terms for Criminal Monetary Penalties.
D The determination of restitution is deferred until _ _ _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will
    be entered after such determination.

~   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
    victims must be paid before the United States is paid.

Name of Payee                                                            Total Loss3        Restitution Ordered         Priority or Percentage
 Medicare                                                                         $                $4,535,638.97

D     See Additional Restitution Payees.
*TOTALS                                                                           $               $4,535,638.97

D     Restitution amount ordered pursuant to plea agreement $_ _ _ _ _ __

~    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
     the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the D fine D restitution.

      D the interest requirement for the D fine D restitution is modified as follows:


□     Based on the Government's motion, the Court finds that reasonable efforts to collect the special assessment are not likely to be
      effective. Therefore, the assessment is hereby remitted.

      Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
      Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
      Findings for the total amount oflosses are required under Chapters I 09A, I IO, l l OA, and I 13A of Title 18 for offenses committed
      on or after September 13, 1994, but before April 23, 1996.
              Case 4:19-cr-00633 Document 283 Filed on 10/11/22 in TXSD Page 7 of 7
AO 245C (Rev 09/19)       Amended Judgment in a Criminal Case                                          (NOTE: Identify Changes with Asterisks (*))
                          Sheet 6 - Schedule of Payments
                                                                                                  Judgment - Page       7       of        7
    DEFENDANT:              OLOTIN ALFREDALATAN
    CASE NUMBER:            4: 19CR00633-001

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A     □     Lump sum payment o f ~ - - - - - - due immediately, balance due

      □     not later than _ _ _ _ _ _ , or
      □     in accordance with □ C, □ D, □ E, or □ F below; or
B     181   Payment to begin immediately (may be combined with D C, D D, or 181 F below); or
C     D     Payment in equal _ _ _ _ _ _ _ installments o f ~ - - - - - - over a period of _ _ _ _ _ _ _ _ _ _~
            to commence                  after the date of this judgment; or
D     D     Payment in equal _ _ _ _ _ _ _ installments of$                  over a period of _ _ _ _ _ _ _ _ _ _ _~
            to commence                  after release from imprisonment to a term of supervision; or
E     D     Payment during the term of supervised release will commence within _ _ _ _ _ _ _ after release from imprisonment.
            The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F     181   Special instructions regarding the payment of criminal monetary penalties:
            Payable to:     Clerk, U.S. District Court, Attn: Finance, P.O. Box 61010, Houston, TX 77208.

                            Any unpaid balance due in payments of the greater of $25 per quarter or 50% of any wages earned while
                            imprisoned. The defendant will receive credit for any payments made through the Bureau of Prisons' Inmate
                            Financial Responsibility Program. Any balance remaining after release from imprisonment shall be paid in
                            monthly installments of$200 to commence 60 days after release to a term of supervision.

                            *In reference to the amount specified below, the Court-ordered restitution shall be joint and several with any
                            co-defendant who will be ordered to pay restitution under this docket number or in any related case(s). The
                            defendant's restitution obligation shall not be affected by any payments that may be made by other defendants
                            in this case or any related cases, except that no further payment shall be required after the sum of the amounts
                            paid by all defendants has fully covered all the compensable losses.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
181   Joint and Several
Case Number
Defendant and Co-Defendant Names                                                Joint and Several              Corresponding Payee,
(including defendant number)                                    Total Amount        Amount                        if appropriate
*SEE NOTE ABOVE
Olotin Alfred Alatan 4: l 9CR00633-001                          $4,535,638.97     $4,535,638.97
Rita Kpotie Smith 4: l 9CR00633-004                             $5,790,718.68     $4,535,638.97
Michael Sangolana 4: l 9CR00633-005                               $701,916.57      $701,916.57
D     See Additional Defendants and Co-Defendants Held Joint and Several.
D     The defendant shall pay the cost of prosecution.
D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
